Case 2:19-cv-06182-DSF-PLA Document 220 Filed 10/06/22 Page 1 of 6 Page ID #:12309



    1   HOLLY O. WHATLEY, State Bar No. 160259
        HWhatley@chwlaw.us
    2   MATTHEW W. McALEER, State Bar No. 278595
        MMcAleer@chwlaw.us
    3   COLANTUONO, HIGHSMITH & WHATLEY, PC
        790 E. Colorado Boulevard, Suite 850
    4   Pasadena, California 91101-2109
        Telephone: (213) 542-5700
    5   Facsimile: (213) 542-5710
    6   MICHAEL N. FEUER, City Attorney
        SCOTT MARCUS, Chief Assistant City Attorney
    7   GABRIEL S. DERMER, Assistant City Attorney (SBN 229424)
        FELIX LEBRON, Deputy City Atty (SBN 232984)
    8   200 N. Main Street, City Hall East, Room 675
        Los Angeles, California 90012
    9   Telephone: (213) 978-7569
        Facsimile: (213) 978-7011
   10   Email: Felix.Lebron@lacity.org
   11   Attorneys for Defendant
        CITY OF LOS ANGELES
   12

   13                             UNITED STATES DISTRICT COURT
   14                           CENTRAL DISTRICT OF CALIFORNIA
   15

   16    JANET GARCIA, et al.,                   CASE NO.: 2:19-cv-6182-DSF-PLA

   17                     Plaintiff(s),          Assigned to the Hon. Dale S. Fischer

   18               vs.                          CITY OF LOS ANGELES’S
                                                 OBJECTION TO SPECIAL
   19    CITY OF LOS ANGELES, et al.,            MASTER’S RECOMMENDATION
                                                 NO. 5 RE DISCOVERY MATTERS
   20                     Defendant.
                                                 Complaint Filed:       July 18, 2019
   21                                            Discovery Cut-off:     September 26, 2022
                                                 Pretrial Conference:   February 27, 2023
   22                                            Trial Date:            March 28, 2023

   23

   24

   25

   26
   27

   28

           CITY’S OBJECTION TO SPECIAL MASTER’S RECOMMENDATION NO. 5 RE DISCOVERY MATTERS
        292886.v1
Case 2:19-cv-06182-DSF-PLA Document 220 Filed 10/06/22 Page 2 of 6 Page ID #:12310



    1           This action has been pending since July 18, 2019, and trial is set for March
    2   28, 2023. The Special Master’s Recommendation No. 5 Re Discovery Matters [Dkt.
    3   No. 216 (the “Recommendation”)], unless rejected or significantly narrowed,
    4   extends the expired discovery cut-off for Plaintiffs (but not the City) and threatens
    5   to further delay the existing trial schedule. Extension of the discovery cut-off is
    6   unwarranted in any case, but especially so because the City’s repeal of the Bulky
    7   Item Provisions [Dkt. No. 215], effective September 18, 2022, significantly
    8   narrowed the scope of Plaintiffs’ claims and the evidence necessary to prove them.
    9   Bd. of Trs. of the Glazing Health & Welfare Trust v. Chambers, 941 F.3d 1195,
   10   1198 (9th Cir. 2019) (repeal of offending ordinance renders claims for injunctive
   11   and declaratory relief moot). Plaintiffs’ claims for permanent injunctive and
   12   declaratory relief are significantly diminished, if not eliminated, following the
   13   dissolution of the injunction, which leaves only Plaintiffs’ individual claims for
   14   damages at issue. The City admitted unequivocally in its Answer and discovery
   15   responses that its employees’ past enforcement of the Bulky Item Provision, and
   16   their seizure and discarding of Plaintiffs’ property was pursuant to City custom,
   17   practice, and policy. [See e.g., Dkt. No. 75 (City’s Answer to SAC) at ¶¶16, 20, 21,
   18   56, 68, 102, 114; Dkt. No. 170-1 (Lebron Decl), Ex. 12 (City RFA Responses) at
   19   RFA Nos. 3-4; 7-8; 9-10; 11-12; 13-15; 16-17; 23; 26; 30; 32; 34; 53-56; 63-66; 76-
   20   79; 85-90; 120-122; 133-136; 140-144; 157-160; 165-168; 182-185; 201-203; 223-
   21   226; 247-248]. Accordingly, extended discovery regarding the 100 unalleged
   22   Additional Incidents is irrelevant to Monell liability and unnecessary for any claim
   23   for prospective relief.
   24           Plaintiffs’ request is also untimely. The fact discovery cut-off expired on
   25   September 26, 2022. Plaintiffs requested relief on September 13, 2022 – less than
   26   two weeks before the cutoff – and the Special Master issued Recommendation No. 5
   27   on September 26. The Court’s clear direction dictated the discovery cut-off “means
   28   the final day for the completion of discovery, including resolution of all discovery
                                                    1
          CITY’S OBJECTION TO SPECIAL MASTER’S RECOMMENDATION NO. 5 RE DISCOVERY MATTERS
        292886.v1
Case 2:19-cv-06182-DSF-PLA Document 220 Filed 10/06/22 Page 3 of 6 Page ID #:12311



    1   motions.” [Dkt. No. 73, p. 4, item j (bold by the Court)]. Thus, Plaintiffs’ request
    2   that the Court finally resolve their “Motion for Sanctions” after the discovery cut-off
    3   is untimely.
    4           Substantively, the Recommendation is overbroad and not narrowly tailored to
    5   the requested relief. Plaintiffs sought further discovery regarding the production of
    6   LAPD documents only in response to one document request relating to the plaintiff-
    7   specific incidents and the 100 unalleged Additional Incidents. Yet the
    8   Recommendation is not limited to only LAPD and only incident documents. The
    9   Recommendation also extends indefinitely discovery for Plaintiffs, but not the City.
   10           If adopted by the Court, the Recommendation would require the City to
   11   “identify the method(s) it has used to locate responsive documents;” explain “why,
   12   if known, any documents the City has represented not to exist do not in fact exist;”
   13   and “provide an affidavit affirming that all responsive documents in the City’s
   14   possession or under its control, have been produced.” [Dkt. No. 216, p. 3-4]. After
   15   the City completes these tasks, the Recommendation would allow Plaintiffs to “seek
   16   an order from the Special Master requiring the City to conduct an additional search
   17   using specific additional search terms” and allow Plaintiffs “to seek fees and costs
   18   incurred in the bringing of this motion,” even though Plaintiffs made no effort to
   19   establish in the motion the fees they incurred to write their “Motion for Sanctions,”
   20   and the Special Master did not conclude that sanctions were appropriate. [Id.].
   21   Each of the subsequent decisions contemplated by the Special Master, of course,
   22   must be reviewed by this Court, making “resolution of all discovery motions”
   23   incomplete despite the expired cut-off, and likely to stretch months into the future.
   24           For these reasons, and those discussed below, the City objects to the
   25   Recommendation and urges the Court to not adopt it or, alternatively, to modify it to
   26   apply to LAPD only and limited to the production of LAPD documents to the
   27   plaintiff-specific incidents itemized in Plaintiffs’ motion. Discovery regarding the
   28   100 unalleged Additional Incidents is irrelevant and does not support delaying trial.
                                                   2
          CITY’S OBJECTION TO SPECIAL MASTER’S RECOMMENDATION NO. 5 RE DISCOVERY MATTERS
        292886.v1
Case 2:19-cv-06182-DSF-PLA Document 220 Filed 10/06/22 Page 4 of 6 Page ID #:12312



    1
                    A. Recommendation No. 5 Is Untimely.
                The Court’s Order Setting Scheduling Conference instructs the parties to
    2
        “note well” that the discovery cut-off “means the final day for the completion of
    3
        discovery, including resolution of all discovery motions.” [Dkt. No. 73, p. 4, item j
    4
        (bold by the Court); p. 6, item q (bold by the Court)]. The discovery cut-off “is the
    5
        last day by which all depositions must be completed, responses to previously-served
    6
        written discovery must be provided, and motions concerning discovery disputes
    7
        must be heard.” [Id., p. 6, item q].
    8
                The discovery cut-off passed without this dispute being heard by this Court.
    9
        Neither party requested to modify the non-expert discovery cut-off. Under the
   10
        Court’s definition of the discovery cut-off, Plaintiffs’ request is untimely inasmuch
   11
        as ordering the Recommendation’s relief would require discovery to continue
   12
        beyond the cut-off. See also, Gerawan Farming, Inc. v. Rehrig Pacific Co., No.
   13
        1:11-CV-01273-LJO, 2013 WL 492103, at *5 (E.D. Cal., Feb. 8, 2013).
   14
                    B. The Recommendation Is Overbroad Because It Requires The City
   15                  To Provide Declarations, Explanations, And Potentially Conduct
   16                  Additional Searches About Requests Not At Issue In Plaintiffs’
                       Motion.
   17
                Plaintiffs’ letter brief specifically identifies the documents they claim the City
   18
        failed to produce. First are LAPD sergeants’ logs for the Plaintiffs’ Specific
   19
        Incidents. [Dkt. No. 216, Ex. 2, p. 2]. Second are LAPD body worn video
   20
        (“BWV”) and “other LAPD documents” regarding the 100 Additional Incidents.
   21
        [Id.]. Later in their brief, Plaintiffs again reference that they seek completion of the
   22
        City’s “LAPD document production.” [Id., p. 10]. The Recommendation, however,
   23
        improperly expands the relief beyond that which Plaintiffs seek and instead
   24
        proposes the City provide a declaration regarding, among other things, “all
   25
        responsive documents” and does not appear to be confined to the LAPD documents
   26
        at issue. [Dkt. No. 216, p. 4].
   27

   28
                                                     3
          CITY’S OBJECTION TO SPECIAL MASTER’S RECOMMENDATION NO. 5 RE DISCOVERY MATTERS
        292886.v1
Case 2:19-cv-06182-DSF-PLA Document 220 Filed 10/06/22 Page 5 of 6 Page ID #:12313



    1           The Recommendation’s ambiguity as to scope is further compounded by its
    2   reference to “all responsive documents related to the 100 Specific and additional
    3   Incidents….” [Dkt. 216, p. 2]. Documents relating to the specific and additional
    4   incidents are called for by RFP No. 2. Plaintiffs raise no disputes regarding the
    5   City’s searches regarding the other 95 RFPs. Plaintiffs only addressed LAPD
    6   discovery in response to RFP No. 2, but the Recommendation on its face appears to
    7   place requirements on the City well beyond. Specifically, it requires the City to
    8   identify the method used to locate “responsive documents,” explain why “any
    9   documents” do not exist and affirm that “all responsive documents” have been
   10   produced. However, the Recommendation does not state specifically what
   11   “responsive documents” it refers to, i.e., are they documents called for by Judge
   12   Abrams order regarding RFP No. 2 related to incident-specific discovery, or do
   13   these additional obligations apply to documents responsive to any RFP even when
   14   Plaintiffs raised no dispute in their recent motion about the City’s production of
   15   those categories?
   16           To the extent the Recommendation requires the City to provide a declaration
   17   regarding all 96 RFPs, the record contains no basis to require it. Plaintiffs’ motion
   18   identified no purported deficiency in the City’s searches or productions regarding
   19   RFP Nos. 1 or 3-96, and Plaintiffs did not request such relief. Thus, the City objects
   20   to, and urges the Court to decline to order, those parts of the Recommendation that
   21   require the City to prepare a declaration regarding any part of its production of
   22   approximately 746,000 pages of documents. If adopted, any order should be limited
   23   to the requested LAPD sergeants’ logs, BWV and other LAPD documents regarding
   24   the Plaintiff-specific incidents that remain to be tried.
   25               C. Repeal Of The Bulky Item Provision, Dissolution of the Injunction,
                       and the City’s Unequivocal Admissions Eliminate Any Need for
   26                  Discovery Related To The Additional Incidents
   27           Plaintiffs have continually justified the relevance of the unalleged Additional
   28   Incidents to “establish the existence of customs, practices, and policies for Monell
                                                    4
          CITY’S OBJECTION TO SPECIAL MASTER’S RECOMMENDATION NO. 5 RE DISCOVERY MATTERS
        292886.v1
Case 2:19-cv-06182-DSF-PLA Document 220 Filed 10/06/22 Page 6 of 6 Page ID #:12314



    1   liability and for prospective relief.” [Dkt. No. 122, p. 49; see also Id., p. 50
    2   (discovery necessary “for Plaintiffs’ claims for prospective relief under the
    3   Declaratory Judgments Act and to establish a custom, pattern, or practice for
    4   purposes of Monell liability”)]. But with the Bulky Item ordinance now repealed,
    5   and the injunction dissolved, this prospective injunctive relief is moot. [Dkt. No.
    6   215]. Under Bd. of Trs. of the Glazing Health & Welfare Trust v. Chambers, 941
    7   F.3d 1195, 1198 (9th Cir. 2019), “repeal… of challenged legislation” renders a
    8   “case moot and appropriate for dismissal.” As noted above, the City admitted that it
    9   employees’ enforcement of the Bulky Item provision was pursuant to City custom,
   10   practice, and policy. Therefore, no further fact discovery or searches are needed.
   11

   12    DATED: October 6, 2022                      COLANTUONO, HIGHSMITH &
                                                     WHATLEY, PC
   13

   14
                                                     /s/ Holly O. Whatley
   15                                                HOLLY O. WHATLEY
                                                     MATTHEW W. MCALEER
   16                                                Attorneys for Defendant
                                                     CITY OF LOS ANGELES
   17

   18
   19

   20

   21

   22

   23

   24

   25

   26
   27

   28
                                                    5
          CITY’S OBJECTION TO SPECIAL MASTER’S RECOMMENDATION NO. 5 RE DISCOVERY MATTERS
        292886.v1
